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                         UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF PENNSYLVANIA


       SECURITIES AND EXCHANGE
       COMMISSION,

                                    Plaintiff,
                      v.                                     No. 1:20-cv-154-SPB

       HVIZDZAK CAPITAL
       MANAGEMENT, LLC; HIGH
       STREET CAPITAL LLC; HIGH
       STREET CAPITAL PARTNERS,
       LLC; SHANE HVIZDZAK; and
       SEAN HVIZDZAK,

                                    Defendants.


         CONSENT ORDER GRANTING PRELIMINARY INJUNCTION,
             MAINTAINING ASSET FREEZE, AND ENLARGING
      DEFENDANTS’ TIME TO PROVIDE COURT-ORDERED INFORMATION

       On June 16, 2020, Plaintiff Securities and Exchange Commission (“Commission”) filed

the above-captioned emergency action and requested a temporary restraining order, an asset

freeze, and other relief against Defendants Hvizdzak Capital Management, LLC (“HCM”); High

Street Capital LLC (“HSC”); High Street Capital Partners LLC (“HSCP”), Shane Hvizdzak

(“Shane”), and Sean Hvizdzak (“Sean;” collectively, “Defendants”) pursuant to Rule 65 of the

Federal Rules of Civil Procedure. That same day, the Court granted the Commission’s requests

and scheduled a preliminary injunction hearing on June 30, 2020.
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       The parties now consent, 1 without a hearing, to continue the relief the Court granted in its

temporary restraining order with certain modifications identified in this Order pending the

Court’s final adjudication of this matter or until further order of the Court, as follows:

                                                  I.

                                PRELIMINARY INJUNCTION

       IT IS ORDERED that Defendants, and their respective directors, officers, agents,

servants, employees, attorneys, representatives and those persons in active concert or

participation with them, who receive actual notice of this Order, by personal service or

otherwise, are preliminarily restrained and enjoined from:

       A.      Section 17(a) of the Securities Act

       directly or indirectly, in the offer or sale of any securities, by the use of any means or

instruments of transportation or communication in interstate commerce or by the use of the mails,

       (a)     employing any device, scheme or artifice to defraud;

       (b)     obtaining money or property by means of any untrue statement of a material fact

               or any omission to state a material fact necessary in order to make the statements

               made, in light of the circumstances under which they were made, not misleading;

               or

       (c).    engaging in any transaction, practice, or course of business which operates or

               would operate as a fraud or deceit upon the purchaser;

in violation of Section 17(a) of the Securities Act, 15 U.S.C. § 77q(a); and




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       By consenting to this Order, the Defendants do not admit or concede any violations of 15
U.S.C. §§ 77q or 78j, or any other allegations in the Complaint.

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       B.      Section 10(b) of the Exchange Act and Rule 10b-5 Thereunder

       directly or indirectly, in connection with the purchase or sale of any security, by the use

of any means or instrumentality of interstate commerce, or of the mails, or of any facility of any

national securities exchange,

       (a)     employing any device, scheme or artifice to defraud;

       (b)     making any untrue statement of a material fact or omitting to state a material fact

               necessary in order to make the statements made, in the light of the circumstances

               under which they were made, not misleading; or

       (c)     engaging in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person;

in violation of Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5

thereunder, 17 C.F.R. § 240.10b-5.

                                                II.

                                        ASSET FREEZE

       IT IS FURTHER ORDERED that until the Court’s final adjudication of this matter or

until further order of the Court:

       A.      Defendants and their agents, servants, employees, attorneys in-fact, and those

persons in active concert or participation with them who receive actual notice of this Order by

personal service or otherwise, and each of them, shall hold and retain within their control, and

otherwise prevent any disposition, transfer, pledge, encumbrance, assignment, dissipation,

concealment, or other disposal (except to the extent this Order requires any transfer to repatriate

assets to the United States) whatsoever of any of their funds or other assets or things of value

presently held by them, under their control, or over which they exercise actual or apparent



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investment or other authority, including, but not limited to, accounts over which any Defendant

has signatory authority, in whatever form such assets may presently exist and wherever located;

and

         B.     Any financial or brokerage institution or other person or entity holding any such

funds or other assets, in the name, for the benefit or under the control of Defendants, directly or

indirectly, including, but not limited to, accounts over which any Defendant has signatory

authority, held jointly or singly, and wherever located, and which receives actual notice of this

order by personal service, mail, email, facsimile, or otherwise, shall hold and retain within its

control and prohibit the withdrawal, removal, transfer, disposition, pledge, encumbrance,

assignment, set off, sale, liquidation, dissipation, concealment, or other disposal of any such

funds or other assets (except to the extent this Order requires any transfer to repatriate assets to

the United States). The Commission has served the Court’s June 16, 2020 Temporary

Restraining Order on the following institutions and, to date, has frozen assets in the following

accounts:



      Financial Institution                   Account Name                      Account Ending

            CNB Bank              Sean Hvizdzak and Chelsea Hvizdzak                  x1517

            CNB Bank              Sean Hvizdzak and Chelsea Hvizdzak                  x0923

            CNB Bank                            561HS LLC                             x8590

        Northwest Bank                   Lang & Hvizdzak PLLC                         x7472

        Northwest Bank                     BH Adventures LLC                          x8817

        Northwest Bank                   Lang & Hvizdzak PLLC                         x7399



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   Northwest Bank             Lang & Hvizdzak PLLC                   x8043

   Northwest Bank       Sean Hvizdzak and Chelsea Hvizdzak           x0632

   Signature Bank        High Street Capital Fund USA, LP            x1713

   Signature Bank        High Street Capital Fund USA, LP            x1705

   Signature Bank         High Street Capital Partners LLC           x1691

   Signature Bank             High Street Capital LLC                x1683

Hamlin Bank and Trust            Shane T. Hvizdzak                   x0380
      Company

Hamlin Bank and Trust      Hvizdzak Capital Management               x0398
      Company

     PNC Bank           Shane Hvizdzak and Peter J. Hvizdzak         x2476

     PNC Bank                       561HS LLC                        x6023

Gemini Trust Company              Shane Hvizdzak                     x6804
        LLC
Gemini Trust Company              Sean Hvizdzak                      x4146
        LLC
Gemini Trust Company     High Street Capital Fund USA, LP            x3034
        LLC
    Bittrex, Inc.                 Shane Hvizdzak                  x@gmail.com

     Bittrex, Inc.                Shane Hvizdzak                  x@gmail.com

     Bittrex, Inc.                Sean Hvizdzak                x@highstreet.capital

     PNC Bank                Shane and Peter Hvizdzak                x2476

     PNC Bank                       561HS LLC                        x6023

     PNC Bank                Sean and Chelsea Hvizdzak               x7713




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        Venmo, LLC                                Various                            Various

 Paxos Trust Company, LLC                    Shane Hvizdzak                         -acea840



       The Defendants reserve the right to move the Court to remove the asset freeze on any

frozen account, including to seek payment of reasonable counsel fees and ordinary course,

necessary living and household expenses.

                                                 III.

                                   SWORN ACCOUNTINGS

       IT IS FURTHER ORDERED that on or before 30 days from the date the Court issues

this Consent Order, each Defendant shall serve upon the Commission a verified written

accounting, which Defendant must sign under penalty of perjury, providing the following

information:

        (a)    Each account with any financial institution, bank, digital asset exchanges, or

brokerage firm maintained in Defendant’s name, held for Defendant’s direct or indirect

beneficial interest, or over which Defendant exercised any direct or indirect control from January

1, 2017, through the date of the accounting, including the name of the financial institution and

name and last four digits of the account number;

       (b)     All assets, funds, digital assets, or other properties, whether real or personal that is

valued greater than $5,000, currently held by the Defendant, jointly or individually, for his direct

or indirect beneficial interest, or over which he maintains control, wherever situated, and

identifying the location, value, and disposition of each such asset, fund, and other property; and

       (c)     All assets, funds, digital assets, securities, real, or personal property of Defendants

that is valued greater than $5,000 that was transferred to or for the benefit of any other person or


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entity from January 1, 2017, to the date of the accounting, including a description of each

transferred asset, the name of the recipient, the date of the transfer, and the reason for the

transfer.

        (d)     A list of all investors or limited partners in any partnership or other pooled

investment vehicle that Defendant owns, controls, is a general partner of, or serves as an

investment advisor to, including, but not limited to, High Street Capital Fund USA, LP.

        The Defendants reserve the right to move for an extension of the date for submission of

the accounting and retain their ability to raise Constitutional privileges in responding to Section

III of this Order.

                                                   IV.

                                  RECORDS PRESERVATION

        IT IS FURTHER ORDERED that Defendants, their directors, officers, agents, servants,

employees, attorneys, depositories, banks, and those persons in active concert or participation

with any one or more of them, and each of them, be and they hereby are restrained and enjoined

from, directly or indirectly, destroying, mutilating, concealing, altering, disposing of, or

otherwise rendering illegible in any manner, any of the books, records, documents,

correspondence, brochures, manuals, papers, ledgers, accounts, statements, obligations, files and

other property of or pertaining to Defendants, wherever located and in whatever form, electronic

or otherwise, until further Order of this Court.

                                                   V.

                                    ASSET REPATRIATION

        IT IS FURTHER ORDERED that, on or before 30 days from the date the Court issues

this Consent Order, each Defendant shall repatriate all assets obtained from the activities



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described in the Commission’s Complaint that are now located outside the territorial limits of the

United States, to the extent a Defendant has any such assets, and that each Defendant direct the

return of such assets to the Registry of this Court, pending conclusion of this matter.

       The Defendants reserve the right to move for an extension of the date for repatriation and

retain their ability to raise Constitutional privileges in responding to Section V of this Order.

                                                 VI.

                                PRELIMINARY ACCOUNTING

       IT IS FURTHER ORDERED that, on or before 5 days from the date the Court issues

this Consent Order, each Defendant, to the best of their knowledge and ability, provide the

Commission preliminary lists of accounts, assets, and investors as required and described in

Section III above.

       The Defendants reserve the right to raise Constitutional privileges in responding to

Section VI of this Order.

                                                VIII.

                               RETENTION OF JURISDICTION

       IT IS FURTHER ORDERED that this Court shall retain jurisdiction over this matter

and Defendants in order to implement and carry out the terms of all Orders and Decrees that may

be entered and/or to entertain any suitable application or motion for additional relief within the

jurisdiction of this Court, and will order other relief that this Court deems appropriate under the

circumstances.




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SO AGREED on June 26, 2020:


s/Matthew Scarlato                    s/ Efrem M. Grail
Matthew Scarlato                      Efrem M. Grail
James Smith                           THE GRAIL LAW FIRM
SECURITIES AND EXCHANGE               Koppers Building, 30th Floor
 COMMISSION                           436 Seventh Avenue
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scarlatom@sec.gov
smithja@sec.gov                       Counsel for Defendants Shane Hvizdzak, High
                                      Street Capital Management, LLC, High Street
Counsel for Plaintiff                 Capital LLC, and High Street Capital Partners
                                      LLC



                                      s/ David Berardinelli
                                      David Berardinelli
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                                      Counsel for Defendant Sean Hvizdzak




      DONE AND ORDERED this 26th day of June, 2020.




                                     ______________________________________
                                     UNITED STATES DISTRICT JUDGE




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